EXHIBIT 1
                                                                                                 FILED
                                                                         5th JUDICIAL DISTRICT COURT
                                                                                         Chaves County
STATE OF NEW MEXICO                                                                   11/1/2018 2:23PM
COUNTY OF CHAVES                                                                      KATIE ESPINOZA
                                                                                 CLERK OF THE COURT
FIFTH JUDICIAL DISTRICT
                                                                                          Janet Bloomer


ROMAN FRANCO,                                      )
                                                   )
         Plaintiff,                                )
                                                   )
v.                                                 )     No. D-504-CV-2018-01240
                                                   )
CHRISTMAS BY KREBS,                                )
                                                   ) Case assigned to Romero, Freddie J.
    Defendant.                                     )
______________________________)


                COMPLAINT FOR DISCRIMINATION IN VIOLATION OF
     THE NEW MEXICO HUMAN RIGHTS ACT AND AMERICANS WITH DISABILITIES ACT


         COMES NOW Plaintiff, Roman Franco, by and through his attorneys, JONES, SNEAD,

WERTHEIM & CLIFFORD, P.A., and for his Complaint for Discrimination in Violation of the

New Mexico Human Rights Act and Americans with Disabilities Act of 1990, states as

follows:

                                 VENUE AND JURISDICTION

      1. At all times pertinent hereto, Roman Franco was a citizen of the State of New Mexico

         and a resident of Chaves County.

      2. Christmas by Krebs is a domestic for-profit New Mexico corporation with its

         principal place of business in Roswell, Chaves County, New Mexico and a registered

         agent at 3911 S. Main, Roswell, New Mexico 88203.

      3. Mr. Franco was employed by Christmas by Krebs at its Roswell, New Mexico factory,

         and the allegations in this Complaint arise directly out of that employment.
4. Mr. Franco has exhausted his administrative remedies and timely appeals the Order

   of Non- Determination issued by the New Mexico Department of Workforce

   Solutions on August 7, 2018 regarding HRB # 18-07-30-0253 and EEOC# 39B-

   2018-00768. Mr. Franco requests a trial de novo pursuantto NMSA 1978, Section

   28-1-13(A) (2005) and 42 U.S.C. § 2000e-5(f)(1) (2012).

5. Venue and jurisdiction are proper in this Court.

                             FACTUAL BACKGROUND

6. Christmas by Krebs is a glass ornament manufacturer and seller based in Roswell,

   New Mexico.

7. On or around June 3, 2017, Mr. Franco was hired by Christmas by Krebs as a

   shipping manager and began working in its Roswell factory.

8. As shipping manager, Mr. Franco's main duties were office tasks, such as scheduling

   trucks, computer work, keeping track of merchandise, updating inventory and

   shipping and arrival dates of merchandise.

9. In late August 2017, Mr. Franco developed an ulcer on his foot. Because of

   complications and infections with the ulcer, Mr. Franco had his leg amputated in

   early September 2017.

10. Mr. Franco notified Christmas by Krebs immediately about his medical condition,

   including the amputation, and expressed his eagerness to recover and return to

   work. Mr. Franco's supervisor encouraged him to get better but also stated in

   October 2017 that he did not know how Mr. Franco could do his job in a wheelchair.

11. Throughout the remainder of 2017 and beginning of 2018, Mr. Franco informed

   Christmas by Krebs about his recovery and desire to return to work. Mr. Franco


                                         2
   informed Christmas by Krebs that he was temporarily in a wheelchair but that he

   would be getting a prosthetic leg and physical therapy to learn to walk again.

12. Throughout the remainder of 2017 and beginning of 2018, Christmas by Krebs

   encouraged Mr. Franco to get better and to keep the company updated on the

   progress of his recovery.

13. In January 2018, Mr. Franco received a medical release from his doctor stating that

   he was released to return to sedentary office work. Mr. Franco immediately sent

   this release to Christmas by Krebs.

14. On or around January 30, 2018, Mr. Franco submitted forms to Christmas by Krebs

   regarding his medical condition, and indicated that he was prepared to return to

   work on Monday, February 5, 2018. Mr. Franco inquired about whether the

   company's bathroom was wheelchair-accessible and requested temporary

   accommodations, such as having assistance loading and unloading his wheelchair

   from his truck at the beginning and end of the day, and the need to attend physical

   therapy in the future.

15. At this time, Mr. Franco was able to perform the duties of his shipping manager

   position and was eager to return to work.

16. Mr. Franco communicated to Christmas by Krebs around this time to inform them

   that he would be able to perform the essential duties of his job with some temporary

   accommodations and that he would be able to recover from his medical condition in

   the future.




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17. Christmas by Krebs did not permit Mr. Franco to return to work. Instead, on or

   around February 12, 2018, Christmas by Krebs terminated Mr. Franco's

   employment.

18. On or around February 13, 2018, Christmas by Krebs sent Mr. Franco a job

   description for a purchasing position at the company and encouraged him to apply.

   The purchasing position required only sedentary work.

19. Mr. Franco completed all requirements to apply for the purchasing position,

   including going to the Roswell office to complete the application.

20. Shortly after, Christmas by Krebs inquired about Mr. Franco's medical appointments

   and physical therapy appointments.

21. On or around March 6, 2018, Christmas by Krebs notified Mr. Franco that he was

   not hired for the purchasing position.

            COUNT 1: Violation ofthe New Mexico Human Ri&:hts Act

22. Under the Human Rights Act ("HRA"), Sections 28-1-1 to -15 (1953, as amended

   through 2007), it is an unlawful discriminatory practice for an employer to "refuse

   to hire, to discharge, to promote or demote or to discriminate in matters of

   compensation, terms, conditions or privileges of employment" based on physical or

   mental handicap or serious medical condition. Section 28-1-7(A).

23. Under the HRA, it is also an unlawful discriminatory practice for "any employer to

   refuse or fail to accommodate a person's physical or mental handicap or serious

   medical condition, unless such accommodation is unreasonable or an undue

   hardship." Section 28-1-70).




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24. Mr. Franco was qualified to perform the duties of the shipping manager position at

   Christmas by Krebs.

25. Mr. Franco informed Christmas by Krebs about his physical handicap and serious

   medical condition and asked for reasonable accommodations.

26. Christmas by Krebs denied Mr. Franco reasonable accommodations in violation of

   Section 28-1-70).

27. Christmas by Krebs terminated Mr. Franco from the shipping manager position

   based on his physical handicap and serious medical condition in violation of Section

   28-1-7(A).

28. Mr. Franco was also qualified to perform the duties of the purchasing position for

   which he applied in early 2018.

29. Christmas by Krebs refused to hire Mr. Franco for the purchasing position based on

   his physical handicap and serious medical condition in violation of Section 28-1-

   7(A).

           COUNT II: Violation ofthe Americans with Disabilities Act

30. Under the Americans with Disabilities Act of 1990 ("ADA"), 42 U.S.C. §§ 12101-

   12213 (2012), "[no] covered entity shall discriminate against a qualified individual

   on the basis of disability in regard to job application procedures, the hiring,

   advancement, or discharge of employees, employee compensation, job training, and

   other terms, conditions, and privileges of employment." 42 U.S.C. § 12112(a).

31. Under the ADA, an employer's failure to provide reasonable accommodations to the

   known physical limitations of an otherwise qualified individual constitutes

   discrimination. !d.§ 12112(b)(5)(A).


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   32. Under the ADA, an employer's denial of employment opportunities to a qualified job

      applicant is discriminatory if the denial is based on the need for the employer to

      provide reasonable accommodations. !d.§ 12112(b)(S)(B).

   33. Christmas by Krebs is a covered entity under the ADA See id. § 12111(2).

   34. Mr. Franco is an individual qualified to perform the essential functions of the

      shipping manager and purchasing positions at Christmas by Krebs.

   35. Mr. Franco was an individual with a disability under the ADA

   36. Christmas by Krebs knew of Mr. Franco's disability beginning in or around late

      August or early September 2017.

   37. Christmas by Krebs intentionally and unlawfully failed to provide reasonable

      accommodations to Mr. Franco for his shipping manager position in violation of the

      ADA

   38. Christmas by Krebs intentionally and unlawfully discriminated against Mr. Franco

      based on his physical handicap by terminating him from his position as shipping

      manager in violation of the ADA

   39. Christmas by Krebs intentionally and unlawfully discriminated against Mr. Franco

      by denying Mr. Franco employment in the purchasing position based on his

       disability in violation of the ADA

WHEREFORE, Mr. Franco prays this Court to hold a jury trial and:

   A Award judgment in his favor against Christmas by Krebs on each of his claims;

   B. Award actual and special damages in an amount to be determined at trial;

   C. Award him attorneys' fees and costs as permitted by law;




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D. Award him punitive damages as permitted by law; and

E. Grant such other and further relief as the Court deems just and proper.


                                             Respectfully submitted,

                                             JONES, SNEAD, WERTHEIM
                                              & CLIFFORD, P.A.
                                             Attorneys for Plaintiff


                                             By:    Is/ liadai Lin
                                                    SAMUEL C. WOLF
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EXHIBIT 2
EXHIBIT 3
STATE OF NEW MEXICO
COUNTY OF CHAVES
FIFTH JUDICIAL DISTRICT


ROMAN FRANCO,

              Plaintiff,
                                           No. D-504-CV-2018-01240
v.
                                           Honorable Freddie J Romero
CHRISTMAS BY KREBS,

              Defendant.


                  NOTICE TO ADVERSE PARTY OF
             REMOVAL OF CIVIL ACTION TO FEDERAL COURT


TO:    PLAINTIFF ROMAN FRANCO AND HIS ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that on December 3, 2018, Defendant filed a Notice of

Removal of Civil Action in the United States District Court for the District of New

Mexico. A copy of the Notice of Removal of Civil Action was filed and is served

contemporaneously herewith and attached as Exhibit 1.


       DATED this 3rd day of December, 2018.



                                           Respectfully submitted,

                                           LITTLER MENDELSON, P.C.

                                           /s/ Charlotte Lamont
                                           Charlotte Lamont
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                                           201 Third Street, NW, Suite 500
                                           Albuquerque, NM 87102
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                                         Suite 900
                                         Phoenix, AZ 85016
                                         602.474.3601 (telephone)
                                         602.957.1801 (facsimile)


                                         ATTORNEYS FOR DEFENDANT


I hereby certify that a copy of    the
foregoing document was served      via
electronic mail on this 3rd day     of
December, 2018, on all counsel      of
record as follows:

Samuel C. Wolf
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/s/ Charlotte Lamont



FIRMWIDE:160764154.1 999999.3930
EXHIBIT 4
STATE OF NEW MEXICO
COUNTY OF CHAVES
FIFTH JUDICIAL DISTRICT


ROMAN FRANCO,

               Plaintiff,
                                              No. D-504-CV-2018-01240
v.
                                              Honorable Freddie J Romero
CHRISTMAS BY KREBS,

               Defendant.


                  NOTICE OF REMOVAL TO FEDERAL COURT


TO:    CLERK OF THE STATE OF NEW MEXICO, COUNTY OF CHAVES,
       FIFTH JUDICIAL DISTRICT:
       PLEASE TAKE NOTICE that the above-captioned action, filed in the State of

New Mexico, County of Chaves, Fifth Judicial District, entitled Roman Franco v.

Christmas by Krebs, has been removed to the United States District Court for the District

of New Mexico.

       The Notice of Removal of the above-captioned action from the State of New

Mexico, County of Chaves, Fifth Judicial District, to the United States District Court for
the District of New Mexico, was filed on December 3, 2018, in the United States District

Court for the District of New Mexico. A true and correct copy of the Notice of Removal

is attached hereto as Exhibit A.


       DATED this 3rd day of December, 2018.
                                         Respectfully submitted,

                                         LITTLER MENDELSON, P.C.

                                         /s/
                                         Charlotte Lamont
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                                         ATTORNEYS FOR DEFENDANT



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foregoing document was served      via
electronic mail on this 3rd day     of
December, 2018, on all counsel      of
record as follows:

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